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 1                              UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3 MS. L, et al.,                                   Case No. 3:18-cv-0428 DMS MDD
 4                  Petitioners-Plaintiffs,         JOINT MOTION FOR AN
                                                    EXTENSION OF TIME FOR
 5         vs.                                      DEFENDANTS TO ANSWER OR
                                                    OTHERWISE RESPOND TO
 6 U.S. IMMIGRATION AND CUSTOMS                     PLAINTIFFS’ THIRD AMENDED
   ENFORCEMENT, et al.,                             COMPLAINT
 7
               Respondents-Defendants.
 8
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10         Respondents-Defendants, U.S. Immigration and Customs Enforcement, et al., have
11 met and conferred with Petitioners-Plaintiffs, Ms. L., et al. The parties agree and stipulate,
12 in the interests of proceeding with this litigation in the most orderly and efficient manner
13 possible, to extend the time period for Respondent-Defendants to answer Petitioner-
14 Plaintiffs third amended complaint. Accordingly, the parties hereby stipulate that
15 Respondent-Defendants’ answer to the third amended complaint shall be due Monday,
16 February 8, 2020.
17         A proposed order accompanies the joint stipulation.
18
19 DATED: December 7, 2020                    Respectfully submitted,
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